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           IN THE UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF MONTANA
                     GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  ) Case No. CR 18-14-GF-BMM
                                          )
STANLEY PATRICK WEBER,                    )
                                          )
             Defendant.                   )

     MOTION FOR SEPARATE TRIAL ON COUNTS IV AND V

      COMES NOW the defendant, Stanley Patrick Weber, by and through
his attorney, Ryan T. Cox, of the law firm Springer and Steinberg, P.C., and
pursuant to Federal Rule of Criminal Procedure 8(a) and 14(a), hereby moves
this court for the entry of an order which severs for separate trial Counts IV
and V.
      AS GROUNDS THEREFOR, the defendant states and alleges as
follows:
1.    This is a case wherein Defendant Stanley Patrick Weber (“Weber”) has
been charged with violations of 18 USC, et al, regarding alleged sexual actions
on a minor. More specifically, the allegations are that Weber, between July
1, 1993 and January 24, 1995, engaged in illegal sexual acts with an Indian
person under 12 years old (identified as “R.F.H.” in the indictment), in
violation of 18 USC §1152 (defining Indian Persons) and 18 USC 2241(c)
(which defines the sexual act).
2.    Weber is also being charged with violations of 18 USC §2243(a) and
18 USC §2244(a)(2), but these concern allegations dated September 15, 1993
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and June 30, 1995, and supposedly concern another Indian person, this time a
teenager identified as G.R.C.
3.    Weber hereby requests that this court grant relief from the prejudicial
joinder of these two separate matters, as they concern different individuals,
different crimes, different dates, and different acts.     The only common
elements are a) Weber and b) the fact that the victims are of Indian descent,
which is to be expected given that Weber has devoted several decades of his
life practicing medicine on Indian lands.
4.    By joining these disparate acts, the United States has unfairly
prejudiced Weber.
             “Joinder is not prejudicial where ‘all of the evidence
             of the separate count would [still] be admissible
             upon severance.’” United States v. Prigge, 830 F.3d
             1094, 1098 (9th Cir. 2016) quoting United States v.
             Johnson, 820 F.2d 1065, 1070 (9th Cir. 1987)

5.    That standard is not met in this case. As evidenced in the indictment,
counts I through III involve one victim, who was, over the course of a year
and a half period, allegedly engaged in overt sex acts requiring mutually
exposed genitalia. Counts IV and V, meanwhile, detail allegations of two
specific instances with an individual older than the first victim, neither of
which rises to the severity of the first victim’s story. Count IV relates to an
attempt at sexual activity and count V relates to charges of inappropriate
touching through clothing.
6.    The stories do not corroborate the other story, either expressly or by
implication. They do not reflect a common scheme or plan, as the conduct is
distinguishable (as confirmed by the differing criminal charges). They are not
part of one ongoing incident, as the timeline does not reflect continuous
behavior. Neither witness was supposedly present with the other at the time

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of the offense. Given these issues, evidence from one victim should be
properly excluded from the other’s trial, as it would taint the case with the
appearance of fundamental unfairness; Weber might be convicted on an
accumulation of rumors, rather than solid facts.
             “’The rule which thus forbids the introduction of
             evidence of other offenses having no reasonable
             tendency to prove the crime charged, except in so
             far as they may establish a criminal tendency on the
             part of the accused, is not a mere technical rule of
             law. It arises out of the fundamental demand for
             justice and fairness which lies at the basis of our
             jurisprudence. If such evidence were allowed, not
             only would the time of courts be wasted in the trial
             of collateral issues, but persons accused of crime
             would be greatly prejudiced before juries and would
             be otherwise embarrassed in presenting their
             defensed on the issues really on trial.” Spencer v.
             State of Tex., 87 S.Ct. 648, Fn.5 (1967) quoting
             Lovely v. United States, 169 F.2d .386,389 (C.A. 4th
             Cir. 1948)

7.    Arguably, such evidence is admissible under rules 413 and 414, F.R.E.,
which permits the introduction of other sexual assault evidence in a crime
involving such sexual activities. This avenue, if applicable, could avoid the
usual prohibition on unrelated evidence. Instead, the rules would allow the
allegations in Count IV and Count V (as testified to by G.R.C.) to be
introduced in a trial concerning Counts I, II, and III, where R.F.H. is the
victim. That application of the rule, however, is flawed.
8.    Rule 414, F.R.E. relates to evidence of sexual molestation on a child.
But the evidence in support of Counts IV and V does not apply here, since
those allegations concern a teenage victim not necessarily below the age of
14. Pursuant to Rule 414’s terms, such person is not a child capable of being



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molested. (i.e. “’child’ means a person below the age of 14… “Rule 414(d)(1),
C.R.E.).
9.     Thus, only Rule 413, F.R.E., can potentially be used to bring this
disparate conduct into a trial concerning the allegations in Counts I, II, and
III. Rule 413, F.R.E., however, applies to evidence of ‘sexual assault’, a term
specifically defined. None of the allegations against Weber outlined in
Counts IV and V apply.
10.    Rule 413’s definition of sexual assault is as follows:
             (1) any conduct prohibited by 18 USC chapter
             109A;
             (2) contact, without consent, between any part of the
             defendant’s body – or any object – and another
             person’s genitals or anus;
             (3) contact, without consent, between the
             defendant’s genitals or anus and any part of another
             person’s body;
             (4) deriving sexual pleasure or gratification from
             inflicting death, bodily injury, or physical pain on
             another person; or
             (5) an attempt or conspiracy to engage in conduct
             described in paragraphs 1-4.

11.    None of those definitions apply. While the allegations in Counts IV
and V are egregious, they concern an attempt at a consensual sexual encounter
and groping through clothing. Under the strict definitions of the rule, an
attempt at consensual sex, or contact through clothing, suffices as admissible.
12.    Even if this court deems the more relaxed than its plain meaning
suggests, that does not obviate the need for the court to remain concerned
about the prejudice this evidence invites at trial.
             “…we emphasize that Rule 414 is not a blank check
             entitling the government to introduce whatever
             evidence it wishes, no matter how minimally


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             relevant and potentially devastating to the
             defendant. We also emphasize that district courts
             must apply the balancing test of Rule 403 in a
             manner that allows for meaningful appellate
             review.” U.S. v. LeMay, 260 F.3d 1018, 1022 (9th
             Cir. 2001)

13.    As such, the court is left with the more fundamental concern that these
matters can confuse, inflame, or impassion the jury, potentially leading them
to convict Weber as to one crime based on evidence that only tends to
corroborate the other, or because they equate the accumulation of accusations
with the confirmation of their content.
14.    Pursuant to Fed.R.Evid., Rule 403
             Although relevant, evidence may be excluded if its
             probative value is substantially outweighed by the
             danger of unfair prejudice, confusion of the issues,
             or misleading the jury, or by considerations of
             undue delay, waste of time, or needless presentation
             of cumulative evidence

15.    This is a case where there is no physical evidence. The allegations, in
fact, are over 20 years old. As such, this case will rest on the credibility of
the witnesses. Incredible witnesses, when brought in large numbers, can
falsely create the impression of truth, when all they really represent is a large
whisper campaign against a maligned person. This might explain why two
alleged victims, despite experiencing different crimes at different times, are
joined in one trial. Even if that is not the reason, the conflation of the
evidence, and the fact that the admission of the evidence of one set of crimes
could mislead the jury as to the other crimes, warrants the most expeditious
solution: severance of the counts according to victim, such that Counts I, II,
and III are tired in one trial and Counts IV and V are tried in another trial.



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16.    Given the distinct victims, dates, and crimes, there need be no overlap
of witnesses, except insofar as investigators chose to be involved in both
cases. Thus, there is no waste of time or need for duplicative evidence. To
the contrary, severing the counts into different trial is simply the best way to
ensure the exercise of due process.
                       “We…recognize that there is ‘a high risk of
                undue prejudice whenever, as in this case, joinder
                of counts allows evidence of other crimes to be
                introduced in a trial of charges with respect to which
                the evidence would otherwise be inadmissible’…It
                is much more difficult for jurors to
                compartmentalize damaging information about one
                defendant derived from joint counts…than it is to
                compartmentalize evidence against separate
                defendants joined for trial. Studies have shown that
                joinder of counts tends to prejudice jurors’
                perceptions of the defendant and of the strength of
                the evidence on both sides of the case.” U.S. v.
                Lewis, 787 F.2d 1318, 1322 (9th Cir. 1986), quoting
                U.S. v. Daniels, 770 F.2d 1111 (D.C. Cir. 1985)

17.    Undersigned counsel has conferred with Assistant United States
Attorney Jeffrey K. Starnes, Esq., representing the United States of America
in this case. Mr. Starnes does not agree that the court needs to sever the counts
in this case.
       WHEREFORE, and for the foregoing reasons, the Defendant prays
for the relief requested, and for such other and further relief as the Court
deems just and proper in the premises.


Dated this 13th day of April, 2018.




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                           Respectfully submitted,

                           /s/ Ryan T. Cox
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                       CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of April, 2018, I electronically filed
the foregoing motion with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to all parties entered in the case.

                           /s/ Ryan T. Cox
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